                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION

UNITED STATES OF AMERICA                               )
     Plaintiff,                                        )
                                                       )
v.                                                     )       CASE NO. DNCW1:03CR76-2
                                                       )       (Financial Litigation Unit)
VIKI BROOKS WARREN,                                    )
      Defendant,                                       )
                                                       )
and                                                    )
                                                       )
TRANSYLVANIA COMMUNITY                                 )
HOSPITAL, INC.,                                        )
                  Garnishee.                           )

                         ORDER OF CONTINUING GARNISHMENT

        THIS MATTER is before the Court on the answer of Transylvania Community Hospital,

Inc., as Garnishee. On September 7, 2005, the Honorable Lacy H. Thornburg sentenced the

defendant to 66 months of incarceration for her conviction of one count of Conspiracy to defraud

the Federal Crop Insurance Program in violation of 18 U.S.C. § 371 and two counts of Aid & abet

mail fraud in violation of 18 U.S.C. § 1341, 2. Judgment in the criminal case was filed on

September 13, 2005, (Docket No. 184). As part of that Judgment, the defendant was ordered to pay

an assessment of $200.00 and restitution of $9,150,603.00 to the victims of the crime.

        On December 21, 2010, the Court entered a Writ of Continuing Garnishment ("Writ") to

Garnishee, the Goodyear Tire & Rubber Co., Inc., ("Garnishee"), (Docket No. 276). The United

States is entitled to a wage garnishment of up to 25% of net income and has satisfied the

prerequisites set forth in 15 U.S.C. §1673.      Defendant was served with the writ of garnishment on

February 8, 2011, and Garnishee was served on December 16, 2010. Garnishee filed an Answer on

December 29, 2010, stating that at the time of the service of the Writ, Garnishee had in their

custody, control or possession property or funds owned by the debtor, including non-exempt,


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disposable earnings.

       IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $5,719,327.07, computed through September 7, 2010. Garnishee will

pay the United States up to 25% of Defendant's net earnings which remain after all deductions

required by law have been withheld and 100% of all 1099 payments, and Garnishee will continue

said payments until the debt to the plaintiff is paid in full or until Garnishee no longer has custody,

possession or control of any property belonging to Defendant or until further Order of this court.

       Payments should be made payable to the United States Clerk of Court and mailed to the

Clerk of the United States District Court, 401 West Trade Street, Charlotte, NC 28202. In order to

ensure that each payment is credited properly, the following should be included on each check:

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       The plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset

Program. Under this program, any federal payment the defendant would normally receive may be

offset and applied to this debt.

                                                  Signed: September 27, 2011




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